            Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 1 of 17



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

ROBERT F., et al.,

                                                           Plaintiffs,

              -against-                                                      5:18-CV-0594 (LEK/ATB)

NORTH SYRACUSE CENTRAL SCHOOL
DISTRICT, et al.,

                                                           Defendants.


                                                MEMORANDUM-DECISION AND ORDER
 I.         INTRODUCTION
            Plaintiffs Robert F., April F., and their minor son, G.F., bring this action against North

Syracuse Central School District and the North Syracuse Board of Education, alleging

discrimination on the basis of disability in violation of § 504 of the Rehabilitation Act, 42 U.S.C.

§ 794. Dkt. No. 1 (“Complaint”).1 Now before the Court is Defendants’ motion for judgment on

the pleadings, Dkt. Nos. 6 (“Motion”), 6-1 (“Memorandum”), 12 (“Reply”), which Plaintiffs

oppose, Resp.

            For the reasons that follow, Defendants’ Motion is denied.

II.         BACKGROUND
            A. Factual Background

            “In deciding a motion for judgment on the pleadings, a court may consider the pleadings

and exhibits attached thereto, statements or documents incorporated by reference in the

pleadings, matters subject to judicial notice, and documents submitted by the moving party, so



                                                            
              1
        Plaintiffs also initially brought, but have since withdrawn, claims against
Superintendent Annette Speach and Principal Dawn Hussein. Dkt. No. 10 (“Response”).
                                                                         1
 
      Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 2 of 17



long as such documents either are in the possession of the party opposing the motion or were

relied upon by that party in its pleadings.” Prentice v. Apfel, 11 F. Supp. 2d 420, 424 (S.D.N.Y.

1998) (citing Brass v. Am. Film Techs., Inc., 987 F.2d 142, 150 (2d Cir. 1993). The facts in this

section are therefore drawn from the following documents: (1) the Complaint; (2) Defendants’

answer, Dkt. No. 5 (“Answer”); and (3) the exhibits attached to the Answer, Dkt. Nos. 5-1

(“November 2017 Impartial Hearing Request”), 5-2 (“November 2017 District Response”), 5-3

(“December 2017 Impartial Hearing Request”), 5-4 (“December 2017 District Response”), 5-5

(“IHO Order”), 5-6 (“District Policy”). As required when “evaluating a Rule 12(c) motion, the

[C]ourt [will] view the pleadings in the light most favorable to, and draw all reasonable

inferences in favor of, the nonmoving party.” Madonna v. United States, 878 F.2d 62, 65 (2d Cir.

1989).

         Robert F. and April F. are the parents of G.F., who was five years old at the time of the

filing of the Complaint. Compl. ¶ 9. Defendants are a public school district that receives federal

financial assistance for use in providing special education. Id. ¶ 15.

         G.F. was diagnosed with Autism Spectrum Disorder (“ASD”) “with accompanying

language impairment and intellectual impairment” in December 2014. Id. ¶ 19. “Specialized

evaluations” at that time indicated “apraxia, delayed fine motor and visual-motor integration, and

poor instructional control for G.F.” Id. G.F. was non-verbal “with extremely limited visual

motor, cognitive, and social skills.” Id. ¶ 23.

         Beginning in early 2015, Defendants “knew” that G.F. had ASD, “developmental delays,

and social and emotional impairments.” Id. ¶ 20. Beginning no later than 2015, Defendants

“knew that G.F. had neurological impairments, including social and emotional impairments

which substantially limited his major life activities, including learning and caring for himself.”



                                                   2
 
        Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 3 of 17



Id. ¶ 21. Defendants also “knew” that Applied Behavior Analysis (“ABA”) was “the most

effective treatment recommended for G.F.” Id. ¶ 24.

        In March 2015, G.F., then two-and-a-half years old, was initially certified for special

education services. Id. ¶ 25. In September 2015, G.F. was placed in Defendants’ Early Education

Program (“EEP”), a half-day integrated special education program at Defendant’s Main Street

School. Id. ¶ 26. At the time of his enrollment, G.F. “was capable of learning . . . effective

speech and communication skills, through autism-specific programs which were then available.”

Id. ¶ 27. While attending the EEP, G.F. “exhibited minimal social engagement with his peers,

toys, and adults, as well as delays in his communication, motor skills, and socialization

development.” Id.

        From 2015 to the present, Defendants have held annual meetings to develop

Individualized Education Plans (“IEPs”) and goals for G.F. for each upcoming school year. Id.

¶ 32.

        During the period September 2015 through June 2017, G.F. did not achieve his annual

goals in study skills, speech/language, social/emotional/behavioral, or motor skills, including

cognitive, adaptive, and communicative functions. Id. ¶ 31. Rather, G.F. “developed behaviors

that interfered with learning and functioning.” Id.

        In January 2016, Plaintiffs asked Defendants to “allow G.F. to receive” ABA therapy

services at school, but Defendants denied the request. Id. ¶ 28. According to Plaintiffs, “[n]o in-

school autism-specific education programs designed to meet G.F.’s individual educational needs

were offered by Defendants.” Id. ¶ 30.




                                                  3
 
      Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 4 of 17



       In the summer of 2017, Plaintiffs enrolled G.F. in a full-day program at Special Preschool

Integration for Children’s Education (“SPICE”), receiving “full-time autism-specific programs”

at Plaintiffs’ expense. Id. ¶ 29.

       Plaintiffs allege that G.F. was “subjected to discrimination, denied meaningful access to

education, and denied reasonable accommodations for his educational disabilities,” Id. ¶ 34, in

the following ways:

              Defendants failed to provide G.F. with “appropriately certified and trained” special
               education teachers and aides, or with “appropriate educational programs to meet
               his individual needs,” id. ¶ 34(a);

              Defendants failed to provide G.F. with “appropriate” speech therapy, id. ¶ 34(b);

              Defendants failed to provide G.F. with autism-specific services, id. ¶ 34(c);

              Defendants did not have anyone trained in ABA therapy and failed to consider
               making ABA services available to G.F. during the 2016–17 and 2017–18 school
               years, id. ¶ 34(d);

              Defendants denied G.F. in-school ABA therapy services, despite Plaintiffs’ offer to
               pay for them, because of Defendants’ collective bargaining agreement with
               teachers, id. ¶ 34(e);

              Defendants denied G.F. access to a full-day educational program at Main Street
               School in not providing a 1:1 teacher’s assistant or an ABA provider, id. ¶ 34(f);

              Defendants failed to “take timely and appropriate measures” to “prevent G.F. from
               developing negative attitudes and behaviors that interfered with” his ability to
               learn, id. ¶ 34(g);

              Defendants failed to design or implement educational programs for G.F. that
               addressed “appropriately” the “negative attitudes and behaviors” that G.F.
               “developed as a result of Defendants’ discrimination,” id. ¶ 34(h);

              Defendants failed to provide “any mental health services, including ABA
               services,” id. ¶ 34(i);

              Defendants failed to have an expert on educating children with autism either attend
               any of G.F.’s IEP meetings or otherwise provide information or consultation to
               Robert F. and April F. Further, when the parents brought an expert to an IEP


                                                 4
 
            Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 5 of 17



                           meeting, Plaintiffs allege that Defendants “showed gross negligence and/or
                           reckless indifference to such expert’s recommendations,” id. ¶ 34(j); and

                          Defendants failed to provide any individual or family therapy. Id. ¶ 34(k).
               

            Plaintiffs allege that Defendants thereby discriminated against G.F., acting with “gross

negligence” and “deliberate indifference by failing to provide or otherwise prohibiting access for

G.F. to public education.” Id. ¶¶ 34, 49–50. Plaintiff further alleges that Defendants’ failure to

provide G.F. with proper programs, aids, ABA therapy, “social skills trainers,” and

“psychological training” was done “knowingly, deliberately, and repeatedly.” Id. ¶¶ 41–48.

Finally, Plaintiff alleges that Defendants did not conduct “any good faith exploration of possible

accommodations needed to provide him with meaningful access to public education.” Id. ¶ 43.

            B. Procedural Background

            On September 22, 2017, Plaintiffs filed a request for an administrative hearing pursuant to

the Individuals with Disabilities Act (“IDEA”), 20 U.S.C. § 1400, et seq., challenging G.F.’s pre-

school special education program for the 2015–16 and 2016–17 school years. Id. ¶ 35; IHO

Order at 2.2 Plaintiffs later amended their hearing request in October, November, and December

2017. IHO order at 2; Nov. 2017 Impartial Hr’g Req.; Dec. 2017 Impartial Hr’g Req.

            Plaintiffs’ November and December 2017 Impartial Hearing Requests (both attached to

Defendants’ Answer), in addition to adding claims related to G.F.’s 2017–18 school year, alleged

that G.F.’s IEPs lacked the following necessary items: a full-day program, Nov. 2017 Impartial

Hr’g Req. at 7–8; ABA therapy, id. at 8; a functional behavioral assessment (“FBA”), id. at 9–

10; appropriate speech/language therapy, id. at 11; parent training/counseling, id. at 12; and a

least restrictive environment, id. at 7–8. In addition, Plaintiffs alleged that Defendants failed

                                                            
              2
          The cited page numbers for documents refer to those generated by the Court's electronic
filing system (“ECF”)
                                                               5
 
      Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 6 of 17



even to carry out G.F.’s existing IEPs, by failing to provide (1) a “certified and qualified special

education teacher” for months when G.F.’s special education teacher had an extended illness

during which uncertified substitute teachers filled in; and (2) a 1:1 teaching assistant. Id. at 7–8,

12–14; Dec. 2017 Impartial Hr’g Req. at 4–5; IHO Order at. 28–29.

      An Impartial Hearing Officer (“IHO”) held hearings to evaluate Plaintiffs’ claims on

January 2 and 3, 2018. Compl. ¶ 36; IHO Order at 3. In his January 31, 2018 decision, the IHO

held that Plaintiffs’ complaints about G.F.’s 2015–16 IEP were time barred. IHO Order at 11–13.

The IHO also found, with regard to the 2016–17 and 2017–18 school years, that Defendants had

not violated IDEA’s least restrictive environment requirement, and were not required to provide

G.F. with full-day instruction in 2016–17 because of his age at the time. Id. at 26, 30.

      However, the IHO ruled for the Plaintiffs in all other respects. Id. at 13–15, 19, 25–27,

29–30. In finding that Defendants violated IDEA by failing to provide an FBA, the IHO noted

that the Court of Appeals for the Second Circuit has treated the omission of an FBA as a “serious

procedural violation” of the IDEA. Id. at 16–17 (citing L.O. v. N.Y.C. Dep’t of Educ., 822 F.3d

95, 113 (2d Cir. 2016). As to the substitute teachers provided during G.F.’s special education

teacher’s ninety-two day absence in 2016–17, the IHO found that, while Defendants “apparently

operated in good faith,” for forty-seven of those days, the substitute was neither a certified

special education teacher nor a certified teacher. Id. at 28–29. According to the IHO, Defendants’

violations denied G.F. a free appropriate public education (“FAPE”) for the 2016–17 and 2017–

18 school years. The IHO therefore ordered Defendants to provide (1) $1,538 in reimbursement

to Plaintiffs for out-of-pocket therapy expenses; (2) 240 hours of compensatory 1:1 ABA

therapy; (3) daily 45-minute ABA therapy services; (4) a 1:1 teaching assistant; (5) ABA training




                                                  6
 
       Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 7 of 17



 for Defendants’ staff and G.F.’s parents; and (6) updated evaluations of G.F.’s speech/language

 skills. Id. at 32-34. Neither party appealed the IHO Order. Mot. at 8.

III.    LEGAL STANDARD
        Rule 12(c) of the Federal Rules of Civil Procedure allows a party to “move for judgment

 on the pleadings.” Granting such a motion “is appropriate where material facts are undisputed

 and where a judgment on the merits is possible merely by considering the contents of the

 pleadings.” Sellers v. M.C. Crafters, Inc., 842 F.2d 639, 642 (2d Cir. 1988). “The standard for

 addressing a Rule 12(c) motion . . . is the same as that for a Rule 12(b)(6) motion to dismiss for

 failure to state a claim.” Cleveland v. Caplaw Enters., 448 F.3d 518, 521 (2d Cir. 2006). Thus, a

 complaint should be dismissed if it fails to “contain sufficient factual matter . . . to ‘state a claim

 that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

 Corp. v. Twombly, 550 U.S. 544, 570 (2007)). On the other hand, if the factual allegations “raise

 a right to relief above the speculative level,” it should not be dismissed. Twombly, 550 U.S. at

 544. In a 12(c) motion, however, the Court may consider “the complaint, the answer, [and] any

 written documents attached to them.” L-7 Designs, Inc. v. Old Navy, LLC, 647 F.3d 419, 422

 (2d Cir. 2011). “The granting of a motion for judgment on the pleadings is appropriate only if,

 with all reasonable inferences drawn in favor of the non-moving party, the non-moving party has

 failed to allege facts that would give rise to a plausible claim or defense.” Prowley v. Hemar Ins.

 Corp. of Am., No. 05-CV-981, 2010 WL 1848222, at *3 (S.D.N.Y. May 7, 2010).

IV.     DISCUSSION
        In their Motion, Defendants raise two arguments. First, they contend that Plaintiffs fail to

 state a claim upon which relief may be granted because their Rehabilitation Act claim merely

 restates the IDEA claims that were the subject of the prior administrative hearing. Mem. at 10–

 15. Second, Defendants argue that, to the extent the Complaint asserts claims that are not

                                                    7
  
      Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 8 of 17



duplicative of the IDEA claims previously adjudicated, they have not been administratively

exhausted. Id. at 16–18.

         A. Rehabilitation Act Claim

         Section 504 of the Rehabilitation Act provides that “[n]o otherwise qualified individual

with a disability in the United States . . . shall, solely by reason of her or his disability, be

excluded from the participation in, be denied the benefits of, or be subjected to discrimination

under any program or activity receiving Federal financial assistance.” 29 U.S.C. § 794(a).

IDEA’s purpose, meanwhile, is to ensure students with disabilities receive a FAPE in the least

restrictive environment. § 1400(d)(1)(A); Frank G. v. Bd. of Educ. of Hyde Park, 459 F.3d 356,

371 (2d Cir. 2006). “IDEA and Section 504 are complementary, but they address different

injuries and thus require different proof. Specifically, Section 504 offers relief from

discrimination, whereas IDEA offers relief from inappropriate educational placement, regardless

of discrimination.” Gabel ex rel. L.G. v. Bd. of Educ., 368 F. Supp. 2d 313, 333 (S.D.N.Y.

2005).

         “A plaintiff may assert a Section 504 claim in conjunction with an IDEA claim on the

theory that he has been denied access to a free appropriate education, as compared to the free

appropriate education non-disabled students receive.” D.C. ex rel. E.B. v. N.Y.C. Dep’t of

Educ., 950 F. Supp. 2d 494, 517–18 (S.D.N.Y. 2013) (citation and internal quotation marks

omitted). “To recover under the Rehabilitation Act, there must be evidence that: (1) the student is

disabled; (2) the student is otherwise qualified to participate in school activities; (3) the school or

the board receives federal financial assistance; and (4) the student was excluded from

participation in programs at, denied the benefits of, or subject to discrimination at, the school on

the basis of her disability.” Id. at 518 (quoting Schreiber v. E. Ramapo Cent. Sch. Dist., 700



                                                    8
 
      Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 9 of 17



F.Supp.2d 529, 564 (S.D.N.Y. 2010)). “Since Section 504 relief is conditioned on a showing of

discrimination, it requires something more than proof of a mere violation of IDEA—i.e., more

than a faulty IEP.” Gabel, 368 F.Supp.2d at 334 (citing J.D. v. Pawlet Sch. Dist., 224 F.3d 60, 70

(2d Cir. 2000)). Rather, a plaintiff must prove some additional level of “intentional

discrimination,” which “may be inferred when a school district acts with gross negligence or

reckless indifference in depriving a child of access to a FAPE.” Id. In other words, “a plaintiff

must demonstrate that a school district acted with bad faith or gross misjudgment.” Id.

(citing Butler v. South Glens Falls Cent. Sch. Dist., 106 F.Supp.2d 414, 420 (N.D.N.Y.2000)).

The plaintiff is not required to show personal animosity or ill will. Rather, intentional

discrimination may be inferred when a school district acts with gross negligence or reckless

indifference in depriving a child of access to a FAPE. R.B. ex rel L.B. v. N.Y.C. Bd. of Educ., 99

F. Supp. 2d 411, 419 (S.D.N.Y. 2000); Butler, 106 F. Supp. 2d at 420.

      Defendants argue that Plaintiffs have not adequately alleged bad faith or gross

misjudgment to plead a § 504 claim. Mot. at 11–16. The Court disagrees.

      Gross misjudgment or bad faith may be found when a defendant takes action to provide a

disabled student with fewer services than had previously been deemed necessary. Gabel, 368 F.

Supp. 2d at 336. Here, reading the pleadings in the light most favorable to Plaintiffs, and drawing

all reasonable inferences in their favor, Madonna v. United States, 878 F.2d 62, 65 (2d Cir.

1989), the Court finds alleged actions that may rise to the level of gross negligence or reckless

indifference sufficient to support a claim of discrimination under section 504. In particular, the

IHO Order indicates that, despite an IEP requiring special education for G.F., Defendants

provided him with a substitute teacher who was neither a special education teacher nor even a

certified teacher for a period of forty-seven school days, almost one-quarter of the 2016–17



                                                  9
 
     Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 10 of 17



school year. IHO Order at 28–29, Compl. ¶ 34(a). See S.W. v. Warren, 528 F. Supp. 2d 282, 291

(S.D.N.Y. 2007) (denying summary judgment to defendant school district where the district

deprived children of the number of hours of service their IEPs required because it lacked

sufficient service providers). In addition, the pleadings include allegations of Defendants

removing the 1:1 teaching assistant from G.F.’s 2017–18 IEP without parental consent to this

“important decision,” IHO Order at 15, Compl. ¶ 34(f). See Gabel, 368 F. Supp. 2d at 336

(finding that a school district’s recommendation that a student should be assigned to a program

with an 8:1:1 student-teacher ratio even though the student’s special education committee had

recommended a program with a 12:1:1 ratio “may in itself constitute the type of gross negligence

or reckless indifference Section 504 is meant to address”). The pleadings also detail how

Defendants omitted an FBA from G.F.’s IEP despite more than one year with little or no

progress in meeting goals, a “serious” procedural error. IHO Order at 17; Compl. ¶ 43. See L.O.,

822 F.3d at 113 (finding that failure to provide FBA is a “serious procedural violation” because

it prevents a school from “obtaining information about the student’s behaviors, leading to their

being addressed in the IEP inadequately or not at all”). As such, the Court finds that Plaintiffs

have stated a plausible claim that Defendants acted with gross misjudgment, and Plaintiffs’

Rehabilitation Act claim survives the Motion.

      B. Exhaustion

      Where a plaintiff brings a claim under either the ADA or the Rehabilitation Act that seeks

relief available under the IDEA, he or she must first exhaust the administrative remedies under

the IDEA. Hope v. Cortines, 69 F.3d 687, 688 (2d Cir.1995). “Failure to exhaust the [IDEA’s]

administrative remedies deprives the court of subject matter jurisdiction.” Cave v. E. Meadow




                                                 10
 
      Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 11 of 17



Union Free Sch. Dist., 514 F.3d 240, 245 (2d Cir. 2008) (citing Polera v. Bd. of Educ., 288 F.3d

478, 483 (2d Cir. 2002)).

       Under IDEA, parents of disabled children are guaranteed “a variety of procedural

safeguards,” Mr. P v. West Hartford Bd. of Educ., 885 F.3d 735, 741 (2d Cir. 2018), including

the right “to request a due process hearing in order to present complaints as ‘to any matter

relating to the identification, evaluation, or educational placement of the child, or the provision

of a free appropriate public education.’” Cave, 514 F.3d at 245 (quoting 20 U.S.C. §

1415(b)(6)(A)). These administrative proceedings are adjudicated and conducted in accordance

with the laws of each state. § 1415(f)–(g).

       New York has opted for a two-tier administrative system to review IEPs. Cave, 514 F.3d

at 245. First, an impartial hearing officer is selected from a list of certified officers and appointed

by the local board of education or the competent state agency to conduct the initial hearing and

issue a written decision. Id. That decision can then be appealed to a state review officer (“SRO”)

of the New York Education Department. Id. “Only after exhaustion of these procedures has an

aggrieved party the right to file a suit in a federal or state court.” Id. (citing § 1415(i)(2)(A)).

However, for exhaustion purposes, a party need not appeal an IHO decision favorable to him,

since under IDEA only a “party aggrieved by the findings and decision rendered in such a

hearing may appeal such findings and decision to the State educational agency.” 1415(g)(1).

           1. Applicability

       The administrative exhaustion requirement applies to all suits that “seek relief for the

denial of a FAPE,” including those brought pursuant to the Rehabilitation Act. Fry v. Napoleon

Cmty. Schs., 137 S. Ct. 743, 752 (2017) (citing § 1415(l)). “[I]n determining whether a suit

indeed ‘seeks’ relief for such a denial, a court should look to the substance, or gravamen, of the



                                                   11
 
     Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 12 of 17



plaintiff’s complaint.” Id. “[I]f, in a suit brought under a different statute, the remedy sought is

not for the denial of a FAPE, then exhaustion of the IDEA’s procedures is not required.” Id. at

754; see also L.K. v. Sewanhaka Cent. High Sch. Dist., 641 F. App’x. 56, 57 (2d Cir. 2016)

(summary order) (“[I]f the ‘theory’ behind a claim relates to the ‘education of disabled children,’

IDEA exhaustion is required.” (quoting Polera, 288 F.3d at 481, 487–88)). Fry suggests that

courts should ask a pair of questions to determine whether the “gravamen” of a plaintiff’s

complaint concerns the denial of a FAPE: “First, could the plaintiff have brought essentially the

same claim if the alleged conduct had occurred at a public facility that was not a school—say, a

public theater or library? And second, could an adult at the school—say, an employee or

visitor—have pressed essentially the same grievance?” 137 S. Ct. at 756. If the answer to both of

these questions is no, the complaint is likely about the denial of a FAPE. Id.

      In the instant case, the answer to both questions is no. Plaintiffs could not have brought a

comparable claim against a public theater or library or any other public facility. An adult at the

school could not have pressed the same grievance as Plaintiffs. The gravamen of Plaintiffs’ case

is the provision of educational services to a disabled student. Accordingly, the exhaustion

requirement applies to Plaintiff’s Rehabilitation Act claim.

      While monetary damages are unavailable in an IDEA administrative proceeding,

Plaintiffs’ request for monetary damages here does not alter the calculus regarding exhaustion,

contrary to Plaintiffs’ argument. Resp. at 10–11. See Polera, 288 F.3d at 487 (“Courts in the

Second Circuit have . . . not permitted [plaintiffs] to evade the IDEA’s exhaustion requirement

merely by tacking on a request for money damages.”); see also Fry, 137 S. Ct. at 752 n.4 (“[W]e

leave for another day a further question about the meaning of § 1415(l): Is exhaustion required

when the plaintiff complains of the denial of a FAPE, but the specific remedy she requests—



                                                  12
 
     Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 13 of 17



here, money damages for emotional distress—is not one that an IDEA hearing officer may

award?”).

            2. Analysis

      The facts alleged in the Impartial Hearing Requests are the same facts that support

Plaintiffs’ Rehabilitation Act claim here: the failure to provide a properly certified special

education teacher for forty-seven days, Nov. 2017 Impartial Hr’g Req. at 7–8, 12–14; IHO Order

at 28–29; Compl. ¶ 34(a); Defendants’ unilateral removal of the 1:1 teaching assistant from

G.F.’s 2017–18 IEP, Nov. 2017 Impartial Hr’g Req. at 7–8, 12-14, Dec. 2017 Impartial Hr’g Req

at 4–5; IHO Order at 15; Compl. ¶ 34(f); and the omission of an FBA from G.F.’s IEP, Nov.

2017 Impartial Hr’g Req. at 9–10; IHO Order at 17.

      Nevertheless, Defendants argue that Plaintiffs did not exhaust their Rehabilitation Act

claim because Plaintiffs did not, in their Impartial Hearing Requests, explicitly cite the

Rehabilitation Act or mention “disability discrimination,” “bad faith,” “reckless indifference,” or

“gross negligence.” Reply at 13. The Court disagrees. Plaintiffs need not explicitly cite the

Rehabilitation Act or argue “bad faith” before the IHO in order to exhaust their Rehabilitation

Act claim.

      Congress has codified the non-IDEA claim exhaustion requirement at § 1415(l):

       “‘Nothing in [the IDEA] shall be construed to restrict or limit the rights, procedures, and
       remedies available under the Constitution, the [ADA], title V of the Rehabilitation Act
       [including § 504], or other Federal laws protecting the rights of children with disabilities,
       except that before the filing of a civil action under such laws seeking relief that is also
       available under [the IDEA], the [IDEA’s administrative procedures] shall be exhausted to
       the same extent as would be required had the action been brought under [the IDEA].’”

Fry, 137 S. Ct. at 753, quoting § 1415(l) (emphasis added).

      When analyzing exhaustion within the context of a non-IDEA claim, therefore, the Court

must assess what a Plaintiff would “be required” to do in IDEA processes if “the action [had]

                                                 13
 
     Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 14 of 17



been brought under [the IDEA].” Id. IDEA’s administrative processes require a plaintiff to

present a claim before a hearing officer detailing their FAPE denial, and “IDEA’s administrative

procedures test whether a school has met that obligation—and so center on the Act’s FAPE

requirement.” Fry, 137 S. Ct. at 753. “Any decision by a hearing officer on a request for

substantive relief ‘shall’ be ‘based on a determination of whether the child received a free

appropriate public education.’” Fry, 137 S. Ct. at 754 (quoting 1415(f)(3)(E)(i)). “If [an]

accommodation is needed to fulfill the IDEA’s FAPE requirement, the hearing officer must order

relief. But if it is not, he cannot.” Id. Whether a school denied FAPE because of intentional

discrimination, bad faith, or innocent mistake does not matter in an IDEA claim, and Plaintiffs

would not have to allege any state-of-mind to exhaust if this action “had been brought under the

IDEA.” 1415(l); see Gabel, 368 F. Supp. 2d at 333 (“IDEA offers relief from inappropriate

educational placement, regardless of discrimination.”)

      That analytical framework aligns with the purposes of the exhaustion requirement. “The

IDEA’s exhaustion requirement was intended to channel disputes related to the education of

disabled children into an administrative process that could apply administrators’ expertise in the

area and promptly resolve grievances.” Polera, 288 F.3d at 487. The exhaustion requirement

“prevents courts from undermining the administrative process,” which is “uniquely well suited to

review the content and implementation of IEPs . . . and to determine what changes, if any, are

needed” to provide FAPE. Id., 288 F.3d at 487.

      In this case, Plaintiffs raised all of the issues relevant to G.F.’s FAPE and IEPs and gave

Defendants and the IHO the opportunity to determine whether changes in his education program

were needed to secure a FAPE. Apprised of those facts, the IHO granted considerable relief to

“correct shortcomings in [G.F.’s] educational programs,” Polera, 288 F.3d at 487.



                                                 14
 
      Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 15 of 17



       Requiring that allegations of bad faith or discriminatory motive be raised before an IHO to

exhaust a Rehabilitation Act claim would distract the IHO from his statutorily mandated focus

“on the [IDEA’s] FAPE requirement.” Fry, 137 S. Ct. at 753. It would, therefore, “undermine,”

Polera, 288 F.3d at 487, the IDEA administrative process.

       Exhaustion “furthers development of a complete factual record and promotes judicial

efficiency.” Polera, 288 F.3d at 487. But nothing in IDEA suggests that it enlists state agencies to

develop a record on issues extraneous to FAPE, such as state-of-mind, for the sole benefit of

federal courts in possible later litigation.

       In further support of their argument, Defendants point to three district courts in this circuit

that have held that they lack jurisdiction over § 504 claims where the plaintiff pursued

administrative remedies for IDEA claims but failed to assert § 504 claims during the

administrative process. Reply at 11–13; see John M. v. Brentwood Union Free Sch. Dist., No.

11-CV-3634, 2015 WL 5695648, at *12–13 (E.D.N.Y. Sept. 28, 2015); M.A. v. N.Y. Dep’t of

Educ., 1 F. Supp. 3d 125, 144 (S.D.N.Y. 2014) (adopting report and recommendation); P. v.

Greenwich Bd. of Educ., 929 F. Supp. 2d 40, 50–51 (D. Conn. 2013). The Court finds these

cases unpersuasive.

       In Greenwich, as here, the plaintiffs presented the factual basis for their Rehabilitation Act

claim during the administrative proceedings, but neglected to mention the Act itself, or bad faith.

929 F. Supp. 2d at 50–51. On that basis alone, the Greenwich court found that the plaintiffs had

not exhausted their Rehabilitation Act claim. For support, the court cited Mr. & Mrs. D. v.

Southington Board of Education, 119 F. Supp. 2d 105, 115–16 (D. Conn. 2000). Greenwich, 929

F. Supp. 2d at 50–51. However, Mr. & Mrs. D. only held that Rehabilitation Act claims require

exhaustion “to the same extent as would be required had the action been brought under [IDEA],”



                                                  15
 
     Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 16 of 17



119 F. Supp. 2d at 115 (citing § 1415(f)). The case does not suggest that a plaintiff must

explicitly cite the Rehabilitation Act or allege state of mind in the administrative process to

satisfy exhaustion. As explained earlier, Plaintiff would not have had to allege these elements

had the action been brought under the IDEA. And in fact, Mr. & Mrs. D. suggests that when a

plaintiff has raised the facts underlying his Rehabilitation Act claim in a prior administrative

proceeding, exhaustion has occurred. See Mr. & Mrs. D., 119 F. Supp. 2d at 116–17 (“To the

extent that [the plaintiffs’ Rehabilitation Act claims] may involve facts not brought up under the

hearing under the IDEA, they should be the subject matter of an administrative proceeding

before being reviewed by the court.”). In light of § 1415(l)’s exhaustion language, the Supreme

Court’s subsequent decision in Fry, and Greenwich’s misreading of Mr. & Mrs. D., the Court is

unpersuaded by Greenwich.

      Both John M. and M.A. relied on Greenwich despite its faulty reasoning, and therefore are

unconvincing on the same basis. Further, the plaintiffs in both John M. and M.A. did not contest

that they failed to exhaust their Rehabilitation Act claims, so the issue was not fully briefed. John

M., 2015 WL 5695648, at *12–13; M.A., 1 F. Supp. 3d at 144. And in M.A., as in Mr. & Mrs.

D., the plaintiffs had not even alleged in their administrative process the facts underlying their

later Rehabilitation Act claims in federal court. Compare M.A., 1 F. Supp. 3d at 129 (listing

Rehabilitation Act claims in federal suit) with M.A. v. N.Y. Dep’t of Educ., No. 10-CV-3646

(S.D.N.Y. Sept. 5, 2013) (Report-Recommendation), at 11–13 (listing factual allegations in the

plaintiffs’ administrative complaint).

      Here, Plaintiffs alleged in their Impartial Hearing Requests the FAPE-related facts that

support their Rehabilitation Act claim now before this Court. They have therefore abided by

1415(l) and properly exhausted their Rehabilitation Act claim.



                                                 16
 
     Case 5:18-cv-00594-LEK-ATB Document 13 Filed 03/13/19 Page 17 of 17



V.    CONCLUSION
      Accordingly, it is hereby:

      ORDERED, that Defendants’ Motion (Dkt. No. 6) is DENIED; and it is further

      ORDERED, that the Clerk of the Court shall serve a copy of this Memorandum-Decision

and Order upon the parties in this action.

      IT IS SO ORDERED.


DATED:         March 13, 2019
               Albany, New York

                                             LAWRENCE E. KAHN
                                             United States District Judge




                                               17
 
